                                                  Case 13-26387                   Filed 05/09/13        Doc 5
FORM b9a Notice of Chapter 7 Individual or Joint Debtor No Asset Case (v.12.12)                                                    13−26387 − A − 7

               UNITED STATES BANKRUPTCY COURT
                    Eastern District of California
                          Robert T Matsui United States Courthouse
                                  501 I Street, Suite 3−200
                                   Sacramento, CA 95814

                                              (916) 930−4400
                                           www.caeb.uscourts.gov
                                           M−F 9:00 AM − 4:00 PM

           Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors & Deadlines
                  A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 5/8/13 .
      You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to
    protect your rights. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed
                         above. NOTE: The staff of the bankruptcy clerk's office cannot give legal advice.

                 Creditors − Do not file this notice in connection with any proof of claim you submit to the court.
                                           See Reverse Side For Important Explanations.
       Case Number:               13−26387 − A − 7
Debtor Name(s), Last four digits of Social Security or Individual Taxpayer ID (ITIN) No(s)./Complete EIN, and Address(es):


    Dennis Dale Elm                                                                 Kim Marie Elm
     xxx−xx−7586                                                                     xxx−xx−0224


    444 Springvalley Dr                                                             444 Springvalley Dr
    Vacaville, CA 95687                                                             Vacaville, CA 95687

ALL OTHER NAMES USED BY THE DEBTOR(S) IN THE LAST 8 YEARS (include married, maiden, and trade names):
    Dennis D. Elm                                                                   Kim M. Elm
                                                                                    Hairs by Kim
Debtor's Attorney:           Matthew J. Gilbert                                     Trustee:              Sheri L. Carello
                             2601 Nut Tree Rd #A                                                          PO Box 22527
                             Vacaville, CA 95687                                                          Sacramento, CA 95822−0527
Telephone Number:            (707) 448−3310                                         Telephone Number:     916−444−8149
                                                MEETING OF CREDITORS
Location:                    Robert T Matsui United States Courthouse, 501 I Street, Room 7−A, 7th Floor,
                             Sacramento, CA
Date & Time:                 6/12/13 10:00 AM
The debtor (both spouses in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. See Explanations
and Important Notice to Individual Debtors on reverse side.
         Presumption of Abuse under 11 U.S.C. § 707(b) − See "Presumption of Abuse" on the reverse side.
The presumption of abuse does not arise.
                Deadlines − Papers must be received by the bankruptcy clerk's office by the following deadlines:
                Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain Debts:
                                                           8/12/13
              Deadline to Object to Exemptions: Thirty (30) days after the conclusion of the meeting of creditors.
                                                    Creditors May Not Take Certain Actions
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor
and the debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the
debtor can request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the
Bankruptcy Code, you may be penalized. Consult a lawyer to determine your rights in this case.

It is unnecessary to file claims at this time because it does not appear from the schedules that enough assets are available
for payment of a dividend to creditors. If sufficient assets become available, you will be sent a Notice to File Claims.
                                                          Creditor with a Foreign Address
A creditor to whom this notice is sent at a foreign address should read the information under "It Is Unnecessary to File a Proof
of Claim at This Time" on the reverse side.
Dated:                                                                             For the Court,
5/9/13                                                                             Wayne Blackwelder , Clerk
                                     Case 13-26387            Filed 05/09/13          Doc 5
FORM b9a
(Continued)
                                                    EXPLANATIONS
Filing of Chapter 7           A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has
Bankruptcy Case               been filed in this court by or against the debtor(s) listed on the front side, and an order for relief
                              has been entered.


Legal Advice                  The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine
                              your rights in this case.


Creditors Generally May Not Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited
Take Certain Actions        actions include contacting the debtor by telephone, mail or otherwise to demand repayment;
                            taking actions to collect money or obtain property from the debtor; starting or continuing lawsuits
                            or foreclosures; repossessing the debtor's property; and garnishing or deducting from the debtor's
                            wages. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
                            although the debtor can request the court to extend or impose a stay.


Presumption of Abuse          If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the
                              case under § 707(b) of the Bankruptcy Code. The debtor may rebut the presumption by showing
                              special circumstances.


Meeting of Creditors          A meeting of creditors is scheduled for the date, time and location listed on the front side. The
                              debtor (both spouses in a joint case) must be present at the meeting to be questioned under oath
                              by the trustee and by creditors. Creditors are welcome to attend, but are not required to do so.
                              The meeting may be continued and concluded at a later date specified in a notice filed with the
                              court.
                              Important Notice to Individual Debtors: The United States Trustee requires all debtors who are
                              individuals to provide government issued photo identification and proof of social security number
                              to the trustee at the meeting of creditors. Failure to appear at the meeting of creditors, or failure to
                              provide proper identification and proof of social security information, may result in a motion to
                              dismiss your case.


It is Unnecessary to File a   There does not appear to be any property available to the trustee to pay creditors. It is therefore
Proof of Claim at This Time   unnecessary to file a proof of claim at this time. If it later appears that assets are available to pay
                              creditors, you will be sent another notice telling you that you may file a proof of claim, and telling
                              you the deadline for filing your proof of claim. If this notice is mailed to a creditor at a foreign
                              address, the creditor may file a motion requesting the court to extend the deadline.
                              Do not include this notice with any filing you make with the court.


Discharge of Debts            The debtor is seeking a discharge of most debts, which may include your debt. A discharge
                              means that you may never try to collect the debt from the debtor. If you believe that the debtor is
                              not entitled to receive a discharge under Bankruptcy Code §727(a) or that a debt owed to you is
                              not dischargeable under Bankruptcy Code §523(a) (2), (4), or (6), you must file a complaint −− or
                              a motion if you assert the discharge should be denied under §727(a)(8) or (a)(9) −− in the
                              bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the
                              Dischargeability of Certain Debts" listed on the front of this form. The bankruptcy clerk's office
                              must receive the complaint or motion and any required filing fee by that deadline.


Exempt Property               The debtor is permitted by law to keep certain property as exempt. Exempt property will not be
                              sold and distributed to creditors. The debtor must file a list of all property claimed as exempt. You
                              may inspect that list at the bankruptcy clerk's office. If you believe that an exemption claimed by
                              the debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy
                              clerk's office must receive the objection by the "Deadline to Object to Exemptions" listed on the
                              front side.


Bankruptcy Clerk's Office     Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at
                              the address listed on the front side. You may inspect all papers filed, including the list of the
                              debtor's property and debts, at the bankruptcy clerk's office.


Creditor with a Foreign       Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding
Address                       your rights in this case.

              −−− Refer to Other Side For Important Deadlines and Notices −−−
